Case 22-60043 Document 109-4 Filed in TXSB on 08/26/22 Page 1 of 3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: §
§
FREE SPEECH SYSTEMS, LLC, § Case No. 22—60043
§
DEBTOR. § Chapter 11 (Subchapter V)
§

AMENDED DECLARATION OF NORMAN A. PATTIS IN SUPPORT OF
THE DEBTOR’S APPLICATION TO EMPLOY PATTIS & SMITH LLC
UNDER 11 U.S.C. § 327(e) AND 328(a), AS SPECIAL COUNSEL,
NUNC PRO TUNC TO AUGUST 1, 2022

I, Norman A. Pattis, declare under penalty of perjury as follows:

1, I am an attorney at law duly admitted and in good standing to practice in the State
of Connecticut.
2 I am making this Amended Declaration in support of the Debtor’s Emergency

Application to Employ Pattis & Smith LLC Under 11 U.S.C. § 327(e) and 328(a), as Special
Counsel, Nunc Pro Tunc, to August 1, 2022 (the “Application”). Unless otherwise indicated,
capitalized terms used but not defined herein have the meanings ascribed to such terms in the
Application.

3. Except as otherwise noted, all facts set forth in this Amended Declaration are based
upon my personal knowledge, upon the client and matter records of Pattis & Smith LLC
(“P&SLLC”) reviewed by me or derived from information available to me that I believe to be true
and correct or opinion based upon experience, knowledge and information concerning the
restructuring of debtor-creditor relationships, workouts, chapter 11 process, and the Debtor. If

called upon to testify, I would testify competently to the facts set forth in this Declaration.

Case 22-60043 Document 109-4 Filed in TXSB on 08/26/22 Page 2 of 3

4. On August 22, 2022, I executed a Declaration (the “Original Declaration”) in
support of the Debtor’s Emergency Application to Employ Pattis & Smith LLC Under 11 U.S.C.
§ 327(e) and 328(a), as Special Counsel, Nunc Pro Tunc, to August 1, 2022.

5. In § 10 of the Original Declaration, | stated that:

I conducted a search of P&SLLC files to determine using the list of parties in interest listed
in Schedule 1 hereto whether the Firm had any connections to or represented any of the
parties listed on Schedule 1. The search revealed that the Firm had and did not represent
any of the parties listed on Schedule 1. P&SLLC may have provided services to creditors
or other parties in interest inadvertently omitted from Schedule | or the description above.
If such connections exist, they would be on matters wholly unrelated to the service for
which FSS seeks to engage P&SLLC.

6. Schedule 1 to the Original Declaration listed “Debtor’s Equity: Alexander E.
Jones”.

qi As set out in J 6, 7, 8 of the Application and Exhibit “A” to the Engagement
Agreement, Applicant has represented other defendants, including Alex E. Jones.

8. In 4 11 of the Application, FSS stated that “The Firm is not receiving any
compensation for Professional Services by any other defendant in the Sandy Hook Lawsuits.”

9. As a result of negotiations with certain parties, Alex E. Jones will bear 40% of my
Firm’s 3 monthly $100,000.00 flat fees, with Alex Jones, paying all of August, 2022 flat fee to the
Firm and FSS and Alex Jones paying the Firm $100,000 and $0 respectively for September 2022
monthly flat fee, and $80,000 and $20,000 respectively for October 2022 monthly flat fee.
Therefore, J 11 of the Application is no longer accurate and correct.

10. I am filing this Amended Declaration to update to j 11 in the Application.

11. Except for these amendments to my Declaration and Application set out herein, all

other statements made in the Application and Original Declaration remain true and correct.

Case 22-60043 Document 109-4 Filed in TXSB on 08/26/22 Page 3 of 3

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on August 26, 2022,
By: /s/Norman A. Pattis

Norman A. Pattis

